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January 27, 2021
                                     The conference is canceled. Plaintiff shall obtain a certificate
VIA ECF                              of default from the Clerk and, on or before February 12, 2021,
                                     file a motion for a default judgment.
Honorable Alvin K. Hellerstein
United States District Court         /s/ Alvin K. Hellerstein
Southern District of New York        Jan. 28. 2021
500 Pearl Street
New York, NY 10007


Re:    Brewer v. Sofia Vergara Enterprises, Inc., et al., 1:20-cv-04865 (AKH)


Dear Judge Hellerstein:

        We represent Plaintiff Clint Brewer in the above-captioned case and write pursuant to
Section 1.D of the Court’s Individual Rules to request an adjournment of the conference
scheduled for January 29, 2021. Defendants Sofia Vergara Enterprises, Inc. and Sofia Vergara
are currently in default and Plaintiff intends to move for default judgment within 30 days.

       (1) the original date for the conference is January 29, 2021;

       (2) No previous requests for an adjournment have been made;

       (3) No previous requests have been granted;

       (4) The adversary is in default and therefore does not oppose the request;

       (5) No other dates are impacted.



                                                     Respectfully Submitted,

                                                     s/jameshfreeman/
                                                     James H. Freeman

                                                     Counsel for Plaintiff
